          Case 1:15-cv-13617-FDS Document 91 Filed 05/25/18 Page 1 of 3


                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


                                      )                Civil Action No. 15-cv-13617-FDS
 C.D., by and through her PARENTS AND )
 NEXT FRIENDS, M.D. and P.D.          )
                                      )
                       Plaintiffs,    )
 v.                                   )
                                      )
 NATICK PUBLIC SCHOOL DISTRICT )
 and                                  )
 BUREAU OF SPECIAL EDUCATION          )
 APPEALS,                             )
                                      )
                       Defendants.    )
                                      )


        PLAINTIFFS’ SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT


       NOW come the Plaintiffs, C.D., and her parents M.D. and P.D., (“Parents”) on behalf of

their daughter and themselves, and pursuant to Rule 56 of the Federal Rules of Civil Procedure

and Local Rule 56.1, hereby move for Summary Judgment with regard to the

Consideration/Clarification on Partial Remand filed by the Bureau of Special Education Appeals

(“BSEA”) filed on March 22, 2018, pursuant to this Court’s Order and Memorandum on

Plaintiff’s Motion to Summary Judgment issued on July 21, 2017, and respectfully request that

this Honorable Court allow Plaintiff’s Supplemental Motion and enter judgment on behalf of the

Parents in the above-referenced matter.

        As grounds for this Motion, the Parents state that there are no genuine issues of material

 facts in dispute and the Parents are entitled to judgment as a matter of law. As a result, the

 Consideration/Clarification on Partial Remand by the BSEA, dated March 22, 2018, should be

 reversed and this Court should find that Parents’ are entitled to attorney fees.
          Case 1:15-cv-13617-FDS Document 91 Filed 05/25/18 Page 2 of 3




 In support of their Supplemental Motion for Summary Judgment, Parents submit the

 accompanying Memorandum of Law.

        WHEREFORE, the Plaintiffs, M.D. and P.D., individually and on behalf of C.D,

request that this Court allow Plaintiffs’ Supplemental Motion for Summary Judgment.

DATED this 25th day of May 2018.

                                                Respectfully submitted,

                                                C.D., by and through her PARENTS AND
                                                NEXT FRIENDS, M.D. and P.D.

                                                By their attorney,

                                                /s/ Laurie R. Martucci
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                                  CERTIFICATE OF SERVICE

  I hereby certify that the above document filed through the ECF system will be sent electronically to
  the registered participants as identified on the Notice of Electronic Filing (“NEF”), and paper
  copies will be sent to those indicated as non-registered participants on May 25, 2018.


                                                        /s/ Laurie R. Martucci
                                                        Laurie R. Martucci
Case 1:15-cv-13617-FDS Document 91 Filed 05/25/18 Page 3 of 3
